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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                  SAVANNAH DIVISION


 DILLARD ROSS,

                Plaintiff,
                                                Civil Action No. 4:21-CV-00074-RSB-
 v.                                             CLR


 SYNERGY MARINE PTE LTD, ARGOSY
 PTE LTD, and SYNERGY MARITIME
 PVT LTD,

                Defendants.


                             ORDER ON MOTION TO INTERVENE

       Ceres Marine Terminals, Inc. has moved to intervene. Doc. 16. Plaintiff Dillard

Ross has filed a response consenting to the intervention. Doc. 19. Defendants have

not responded to the motion. Their silence is construed as consent. See S.D. Ga. L.

Civ. R. 7.5. Based on the consent of the parties, therefore, Ceres Marine Terminals,

Inc.’s motion is GRANTED. Doc. 16. Ceres Marine Terminals, Inc. is DIRECTED to file

its Intervention Complaint within thirty days of this Order.

       SO ORDERED, this 12th day of May, 2021.
                                           21.



                                                  CHR
                                                  CHRISTOPHER
                                                    RISTOPPHER L. RAY
                                                  UNITED STATES MAGISTRAT
                                                  UNITEDSTATES  MAGISTRATE JUDGE
                                                                        TE JU
                                                  SOUTHERN DISTRICT OF GEORGIA
